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| MAY 29 2019
UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF COLUMBIA Clerk, U.S. District and
Bankruptcy Courts

 

UNITED STATES OF AMERICA
Criminal Action No. 18-cr-32-2 (DLF)

Filed Under Seal
CONCORD MANAGEMENT &
CONSULTING LLC,

Defendant.

 

 

As stated during yesterday’s sealed motions hearing, it is

ORDERED that the parties shall abide by Local Criminal Rule 57.7(b) and that the
willful failure to do so in the future will result in the initiation of contempt proceedings:

ORDERED that the government shall refrain from making or authorizing any public
statement that links the alleged conspiracy in the indictment to the Russian government or its
agencies:

ORDERED that to the extent the government makes or authorizes any public statement
about the allegations in the indictment, such statement must make clear that (1) the government
is summarizing the allegations in the indictment, which remain unproven, and (2) the
government does not express an opinion on the defendants’ guilt or innocence or the strength of
the evidence in this case.

It is further ORDERED that the parties shall file supplemental briefs under seal addressing the
following questions:

1. Can and should the Court defer consideration of Concord’s motion for an order to show
cause until after trial, to ensure a fair and impartial trial?

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If the Court concludes that the government has violated Local Criminal Rule 57.7(b),
does the Court have discretion to decline to initiate contempt proceedings and to instead
address the violation through alternative means, such as a Rule 57.7(c) order, targeted
voir dire questioning, and/or the Court’s inherent disciplinary authority?

3, Ifthe Court enters an order regulating the parties’ public statements about this case
pursuant to Local Criminal Rule 57.7(c), what terms should that order contain?
Specifically, how should the Court address the Mueller Report, which has already been
disseminated publicly in its current form and which may or may not be disseminated with
certain redactions removed, pending the resolution of negotiations between the
Department of Justice and Congress and various other court matters?
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Both parties shall file their respective memoranda under seal on or before June 5, 2019 and shall
file any response to the other party’s memorandum under seal on or before June 12, 2019.

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DABNEY L. FRIEDRICH
United States District Judge

May 29, 2019

 
